     Case 3:21-cv-01618-YY        Document 1-2      Filed 11/05/21    Page 1 of 13

                                       6/11/2021 8:16 AM
                                          21CV23771

1

2                IN THE CIRCUIT COURT FOR THE STATE OF OREGON
3
                                FOR MULTNOMAH COUNTY
4

5
                                                 Case No.
6    CHRISTOPHER FRISON
7    a Portland resident                         COMPLAINT

8                 Plaintiff                      Assault with a Firearm
9
                  vs                             Not Subject to Mandatory Arbitration
10                                               Amount in Controversy: $1 million
     JOHN DOE                                    Fee Authority: ORS 21.160(1)(e)
11
     an unidentified federal agent               Jury Trial Requested
12
                   Defendant
13

14

15                                             1.
16
                                FACTUAL ALLEGATIONS
17
           On July 27, 2020, Mr. Doe aggressively pointed a semiautomatic handgun at
18

19   Mr. Frison’s chest, causing Mr. Frison to fear for his life and causing him fright and

20   horror and nightmares.
21
                                               2.
22
           Mr. Doe occupied room 428 at the Residence Inn by Marriott at 1250 N Anchor
23

24   Way in Portland, Oregon on July 27, 2020 where Mr. Frison worked as a
25
     maintenance person. Mr. Doe was in Portland for several days on business as a
26
     federal agent deployed by Donald Trump to tamp down protests. According to the
27

28
     New York Times, the federal agents deployed in Portland by Donald Trump did not

     have proper training.


     COMPLAINT – Page 1 of 4




                                                                             Ex. 2, Page 1
     Case 3:21-cv-01618-YY        Document 1-2      Filed 11/05/21    Page 2 of 13




1

2                                              3.
3
           At approximately 4:00pm, Mr. Frison responded to a maintenance request to
4
     unclog the toilet in Mr. Doe’s room. Mr. Frison knocked on Mr. Doe’s door and
5

6    identified himself as a maintenance person. Mr. Doe violently swung open the door,

7    and with an aggressive look on his face, pointed a semiautomatic handgun at Mr.
8
     Frison’s chest. Mr. Frison put his hands in the air and prepared to be killed. Mr. Doe
9
     ultimately lowered his handgun and then invited Mr. Frison into his room. Mr.
10

11   Frison declined the invitation, handed Mr. Doe the toilet plunger, and quickly left

12   room 428.
13
                                               4.
14
           Mr. Doe intentionally traveled to Oregon for business, stayed in Oregon
15

16   overnight, purchased goods and services in Oregon, earned a living in Oregon, and
17
     chose to carry a semiautomatic handgun in Oregon, and so has minimum contacts
18
     in Oregon so that this Court’s exercise of jurisdiction over him constitutes fair play
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20
     and substantial justice.

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     COMPLAINT – Page 2 of 4




                                                                             Ex. 2, Page 2
     Case 3:21-cv-01618-YY        Document 1-2       Filed 11/05/21   Page 3 of 13




1

2                                              5.
3
                                   CLAIM FOR RELIEF
4
                                           Assault
5

6          As alleged in this complaint, Mr. Doe intentionally attempted to engage in

7    harmful or offensive contact with Mr. Frison, and had the present ability to carry
8
     the intention into effect, causing Mr. Frison extreme emotional distress. As a result,
9
     Mr. Doe requests fair compensation in an amount determined by the jury to be fair,
10

11   not to exceed $1 million, and attorney fees, costs, and disbursements. Mr. Frison

12   reserves the right to amend this complaint to adjust the request for compensation to
13
     conform to the evidence as well as to add additional defendants and new claims,
14
     including a claim for punitive damages, as new information is learned in discovery.
15

16                                             6.
17
                               REQUEST FOR JURY TRIAL
18
           Mr. Frison respectfully requests a trial by a jury.
19

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     COMPLAINT – Page 3 of 4




                                                                             Ex. 2, Page 3
     Case 3:21-cv-01618-YY       Document 1-2      Filed 11/05/21   Page 4 of 13




1

2                                             7.
3
                                  PRAYER FOR RELIEF
4
           Mr. Frison respectfully requests relief as sought above, and maximum
5

6    interest, and any other relief the Court deems appropriate.

7
     June 11, 2021
8

9                                           RESPECTFULLY FILED,
10
                                            /s/ Michael Fuller
11                                          Michael Fuller, OSB No. 09357
                                            Lead Trial Attorney for Plaintiff
12                                          OlsenDaines
13
                                            US Bancorp Tower
                                            111 SW 5th Ave., Suite 3150
14                                          Portland, Oregon 97204
                                            michael@underdoglawyer.com
15
                                            Direct 503-222-2000
16
                                            Kelly Doe, OSB No. 074217
17
                                            Of Attorneys for Plaintiff
18                                          The Law Office of Kelly Jones
                                            kellydonovanDoe@gmail.com
19

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     COMPLAINT – Page 4 of 4




                                                                            Ex. 2, Page 4
Case 3:21-cv-01618-YY   Document 1-2   Filed 11/05/21   Page 5 of 13




                                                              Ex. 2, Page 5
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                                                              Ex. 2, Page 7
   Case 3:21-cv-01618-YY   Document 1-2   Filed 11/05/21   Page 8 of 13




                     PLACEHOLDER


    “Order – Rule 7 Service Postponement Granted”
not digitally accessible.




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                                      9/30/2021 8:36 AM
                                         21CV23771

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2

3
                 IN THE CIRCUIT COURT FOR THE STATE OF OREGON
4
                                FOR MULTNOMAH COUNTY
5

6

7                                                Case No. 21CV23771
     CHRISTOPHER FRISON
8                                                COMPLAINT
                  Plaintiff                      FIRST AMENDED
9

10                vs                             Assault with a Firearm
11
     JOSHUA ALLAN JONES                          Not Subject to Mandatory Arbitration
12                                               Amount in Controversy: $1 million
                   Defendant                     Fee Authority: ORS 21.160(1)(e)
13                                               Jury Trial Requested
14

15                                             1.
16
                                FACTUAL ALLEGATIONS
17
           On July 27, 2020, Mr. Jones aggressively pointed a semiautomatic handgun
18

19   at Mr. Frison’s chest, causing Mr. Frison to fear for his life and causing him fright

20   and horror and nightmares.
21
                                               2.
22
           Mr. Jones occupied room 428 at the Residence Inn by Marriott at 1250 N
23

24   Anchor Way in Portland, Oregon on July 27, 2020 where Mr. Frison worked as a
25
     maintenance person. Mr. Jones was in Portland for several days on business as a
26
     federal agent deployed by Donald Trump to tamp down protests. According to the
27

28
     New York Times, the federal agents deployed in Portland by Donald Trump did not

     have proper training.


     COMPLAINT – Page 1 of 4




                                                                             Ex. 2, Page 9
     Case 3:21-cv-01618-YY       Document 1-2       Filed 11/05/21   Page 10 of 13




1

2                                              3.
3
           At approximately 4:00pm, Mr. Frison responded to a maintenance request to
4
     unclog the toilet in Mr. Jones’s room. Mr. Frison knocked on Mr. Jones’s door and
5

6    identified himself as a maintenance person. Mr. Jones violently swung open the door,

7    and with an aggressive look on his face, pointed a semiautomatic handgun at Mr.
8
     Frison’s chest. Mr. Frison put his hands in the air and prepared to be killed. Mr.
9
     Jones ultimately lowered his handgun and then invited Mr. Frison into his room.
10

11   Mr. Frison declined the invitation, handed Mr. Jones the toilet plunger, and quickly

12   left room 428.
13
                                               4.
14
           Mr. Jones intentionally traveled to Oregon for business, stayed in Oregon
15

16   overnight, purchased goods and services in Oregon, earned a living in Oregon, and
17
     chose to carry a semiautomatic handgun in Oregon, and so has minimum contacts
18
     in Oregon so that this Court’s exercise of jurisdiction over him constitutes fair play
19

20
     and substantial justice.

21

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     COMPLAINT – Page 2 of 4




                                                                            Ex. 2, Page 10
     Case 3:21-cv-01618-YY       Document 1-2        Filed 11/05/21   Page 11 of 13




1

2                                               5.
3
                                    CLAIM FOR RELIEF
4
                                            Assault
5

6          As alleged in this complaint, Mr. Jones intentionally attempted to engage in

7    harmful or offensive contact with Mr. Frison, and had the present ability to carry
8
     the intention into effect, causing Mr. Frison extreme emotional distress. As a result,
9
     Mr. Jones requests fair compensation in an amount determined by the jury to be
10

11   fair, not to exceed $1 million, and attorney fees, costs, and disbursements. Mr. Frison

12   reserves the right to amend this complaint to adjust the request for compensation to
13
     conform to the evidence as well as to add additional defendants and new claims,
14
     including a claim for punitive damages, as new information is learned in discovery.
15

16                                              6.
17
                               REQUEST FOR JURY TRIAL
18
           Mr. Frison respectfully requests a trial by a jury.
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     COMPLAINT – Page 3 of 4




                                                                             Ex. 2, Page 11
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2                                             7.
3
                                  PRAYER FOR RELIEF
4
           Mr. Frison respectfully requests relief as sought above, and maximum
5

6    interest, and any other relief the Court deems appropriate.

7
     September 30, 2021
8

9                                           RESPECTFULLY FILED,
10
                                            /s/ Michael Fuller
11                                          Michael Fuller, OSB No. 09357
                                            Lead Trial Attorney for Plaintiff
12                                          OlsenDaines
13
                                            US Bancorp Tower
                                            111 SW 5th Ave., Suite 3150
14                                          Portland, Oregon 97204
                                            michael@underdoglawyer.com
15
                                            Direct 503-222-2000
16
                                            Kelly Jones, OSB No. 074217
17
                                            Of Attorneys for Plaintiff
18                                          The Law Office of Kelly Jones
                                            kellydonovanJones@gmail.com
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     COMPLAINT – Page 4 of 4




                                                                         Ex. 2, Page 12
   Case 3:21-cv-01618-YY                                            Document 1-2                         Filed 11/05/21                Page 13 of 13

                                                                      10/18/2021 4:02 PM
                                                                          21CV23771



                                                                   AFFIDAVIT OF SERVICE
  State of Oregon                                                         County of Multnomah                                               Circuit Court
  Case Number: 21CV23771
  Plaintiff: Christopher Frison
  vs.
  Defendant: John Doe "Joshua Jones"
   For: Michael Fuller
        Olsen Daines
  Received by Pl Services LLC to be served on Joshua Allan Jones, 4320 W. 12th Place, Yuma, AZ
  85364. I, Rolando Valdez                  , being duly sworn, depose and say that on the 8th day of
  October , 20.21. at,2_:-23,o111., executed service by delivering a true copy of the Introduction
  Letter; Summons; Complainf;lnitial Requests for Production; Proposed Deposition Notice; Motion
  for Electronic Service; Payment Terms and Conditions; Blank Dismissal and Judgment in
  accordance with state statutes in the manner marked below:
  (,q INDIVIDUAL SERVICE: Served the within-named person.

  ( ) SUBSTITUTE/OFFICE SERVICE: By serving ___________                                                                               as
  _____________                     (No Submailing)

  ( ) SUBSTITUTE/OFFICE SERVICE & SUBMAILING: By serving -.,,-----------as
  --,,,-----------,-----·                    And I mailed a true copy of the documents and a copy of this
  Affidavit of Service to the Defendant's address listed above by first class mail on __ /__ /2021.

  ( ) POSTED SERVICE: I Posted a true copy to a conspicuous place on the property described herein and
  mailed a true copy of the service documents to the above address by first class mail on __ /__ /2021.

  ( ) POSTED SERVICE: I Posted a true copy to a conspicuous place on the property described herein.

  ( ) NON SERVICE: For the reason detailed in the Comments below.
  COMMENTS:_____________________________                                                                                                             _




  I certify that I have no interest in the above action, am of legal age & have proper authority in the
 jurisdiction in which this service was made. I am a competent person over 18 years of age and a resident
  of this State: I am not a party to nor an officer, director or employee of, nor attorney for any party. I hereby
  declare that the above statement is true to the best of my knowledge and belief, and that I understand it is
  made for use as evidence in court & is subject to penalty for perjury.


                                                                              ,11.
                                                                                                              Jtfl/c:;
  Subscribed Hnd Sworn to before me on the _o    __                                                PROCESS SERVER# YUPS7-26
  day of      tllh/,v      , .1!!!._ by the affiant who                                            Appointed in accordance with State Statutes
  is personally known to me.
                                                                                                   Pl Services LLC
                   M-1 t.                                                                          P.O. Box 157
  NOTARY PUBLIC                                                                                    Beaverton, OR 97075-0157
                                                                                                   (503) 643-4274

                       Manhev, Umbowt.ir                                                           Our Job Serial Number: 2021001855
                     Notary Puh! 1c - Artz.ono
                         Yuma County
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